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                                UNITED STATES DISTRICT COURT

                       FOR THE NORTHERN DISTRICT OF TEXAS

                                    FORT WORTH DIVISION




Katherine M. Cleary, et al., individually and
on behalf of others similarly situated,       Civil Action No. 4:21-cv-00184-O

                  Plaintiffs,                Hon. Reed O’Connor, USDJ
                                             Hon. Hal R. Ray, Jr., USMJ
             v.

American Airlines, Inc.,

                  Defendant.




           PLAINTIFFS’ MOTION AND MEMORANDUM OF LAW FOR
             PRELIMINARY APPROVAL OF CLASS SETTLEMENT
               AND DIRECTION OF NOTICE UNDER RULE 23(E)
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                                        INTRODUCTION

        After more than two years of litigation, the parties have reached an agreement to settle

this class on a class basis. Pursuant to the terms of the Settlement, 1 Defendant American

Airlines, Inc. (“American”) will pay a minimum of $7.5 million to provide full 100% refunds to

Settlement Class Members who file timely, valid claims. There is no limit or cap on the amount

of money American will pay above $7.5 million and American will pay settlement

administration costs and attorneys’ fee in addition (on top) of the 100% refund paid to claiming

Settlement Class members.

        The Settlement presented for the Court’s consideration is fair, reasonable, and adequate,

and warrants notice to the Settlement Classes and preliminary approval under applicable

standards. It is the product of hard-fought, arms-length negotiations between the parties

including through an experienced and well-respected mediator, Clay Cogman of Phillips ADS

(the dispute resolution firm of Hon. Layn R. Phillips, ret.). It follows extensive formal discovery

and years of hard-fought litigation, including two litigation classes certified by this Court, a

ruling on summary judgment, fully briefed motions in limine and other pre-trial submissions, and

a trial scheduled less than two weeks away when settlement was reached. As the Parties were

already deep into preparations for impending trial, they and their counsel were extensively

informed about the issues, the strengths and weaknesses of their respective positions, and the

risks faced by each side of continued litigation.

        The Settlement also provides for a robust notice program that includes direct notice to all

Settlement Class Members via a combination of email and mail; multiple reminder emails; a



1
  The Settlement Agreement and Release (the “Settlement” or “Settlement Agreement”) is being
filed herewith as Ex. 1 to the accompanying Giskan Decl. Capitalized terms herein are defined
in the Settlement Agreement.

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reminder mail notice; publication notice in the form of a widely distributed press release and the

establishment of a dedicated Settlement Website where Settlement Class Members can obtain

additional information and submit claims online; and an informational Toll-Free Number. The

proposed notice program comports with Fed. R. Civ. P. 23, due process, and best practices.

       Plaintiffs and their Court-approved Class Counsel and local counsel believe the

Settlement to be in the best interests of the Settlement Class Members and seek to begin the

Court approval process that is required for all class action settlements. Plaintiffs therefore

respectfully request that the Court preliminarily approve the Settlement, direct that notice be

disseminated to the Settlement Classes pursuant to the proposed notice program, approve the

Parties’ choice of Settlement Administrator (A.B. Data, Ltd.), schedule a Fairness Hearing, and

grant the related relief requested herein and in the accompanying proposed order.

                                         BACKGROUND

I.     Procedural History

       Plaintiffs filed this case on February 24, 2021. ECF No. 1. Plaintiffs alleged that

American had incorrectly required certain customers to pay checked baggage fees between 2013

and 2021. Id. American answered the complaint on April 26, 2021. ECF No. 25.

       Plaintiffs moved for class certification on June 11, 2021. ECF No. 33. American

opposed. ECF No. 40. On September 2, 2021, this Court certified two classes: an Email

Confirmation Class consisting of “qualified American ticket holders who received email

confirmation promising them free checked baggage,” and a Credit Card Class consisting of

“qualified American partner credit card holders that were promised free checked baggage.” ECF

No. 66. This Court appointed Plaintiffs as class representatives, and appointed Plaintiffs’

Counsel as Class Counsel. See ECF Nos. 66. It subsequently designated two additional firms as

Class Counsel to represent the Classes. See ECF No. 151.

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        Plaintiffs sent class members notice as approved and ordered by the Court. See ECF No.

131. Following certification, Class Counsel retained A.B. Data to serve and administer the

Court-approved notice of class certification to over 2.8 million class members. 2

        The Parties conducted extensive discovery. The Parties exchanged and reviewed more

than 50,000 pages of documents and conducted ten (10) depositions. Giskan Decl., ¶¶ 6-7.

Plaintiffs filed and the Parties litigated three motions to compel, of which this Court granted each

in part or in full. ECF Nos. 65, 89, 106.

        American moved for partial summary judgment on January 27, 2022, which Plaintiffs

opposed.    This Court granted summary judgment to American in part on July 22, 2022. ECF

No. 190. As a result of that decision, the class periods certified by the Court were substantially

curtailed and the credit card class was limited to only those international travelers on wholly-

domestic flights. On July 29, 2022, American moved for reconsideration of the Court’s

summary judgment order, which Plaintiffs opposed. ECF Nos. 192, 198.

        While American’s summary judgment motion was pending, Plaintiffs moved for

spoliation sanctions on May 4, 2022. ECF No. 178. In its summary judgment order, this Court

granted Plaintiffs’ motion for spoliation sanctions in part. ECF No. 190 at 13-15.

        Following the entry of the order partially granting summary judgment, the Parties

prepared for trial scheduled for August 29, including filing numerous motions in limine, witness

and exhibit lists and other pre-trial motions and documents. See, e.g., ECF Nos. 200, 206, 212.

        The Parties informed the Court that they had reached a settlement in principle on August

17, 2022, only 12 days before trial, subject to further negotiations and preparation of the




2
 A.B. Data has been retained by the Parties as the Settlement Administrator to administer the
Settlement notice, claims and refund distribution process, subject to Court approval.

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settlement agreement and related documents. ECF No. 245.

II.    Class Counsel’s Investigation and Discovery

       The Settlement in this case was negotiated by counsel who were well-informed about the

issues and litigation risks as a result of their substantial investigation and discovery efforts. Prior

to filing suit, and continuing through the course of the litigation, Class Counsel conducted an

extensive investigation into the factual and legal issues raised in this litigation. These

investigative efforts have included, inter alia, thoroughly investigating and analyzing

American’s customer disclosures and checked baggage policies; speaking with American

customers about their experiences; and investigating customer complaints and other pertinent

public information. Class Counsel also extensively researched and analyzed the legal issues

regarding the claims pled and American’s defenses and potential defenses. Giskan Decl., ¶ 5.

       Moreover, Class Counsel conducted extensive formal discovery in this case, including

reviewing more than 50,000 pages of internal documents and data produced by American and

third-party Appriss Insights, American’s email vendor; deposing pertinent American employees,

and more importantly multiple Rule 30(b)(6) corporate designees; defending the depositions of

Plaintiffs Cleary and Ferrigni, propounding and analyzing responses to substantial written

discovery; and preparing responses to written discovery served by American on Plaintiffs.

Giskan Decl., ¶¶ 6-8.

       The parties were also informed by this Court’s rulings on class certification and

American’s motion for summary judgment and Plaintiffs’ motion for spoliation sanctions, and by

trial preparations and each party’s pending motions in limine and other pre-trial motions, exhibit

and witness lists, and other documents. Giskan Decl., ¶¶ 9-11.

III.   Settlement Negotiations

       The Settlement here is the product of hard-fought, arms-length negotiations. Early in the

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litigation, the Parties participated in settlement mediation with Clay Cogman of Phillips ADS.

That mediation did not result in an agreement and substantial litigation followed. The Parties

and their counsel again participated in a full-day, primarily in-person mediation with Clay

Cogman on August 8, 2022. The Parties were not able to reach a settlement during that

mediation but agreed to continue negotiations. The Parties continued their settlement

discussions and reached an agreement in principle on August 17, 2022. Since reaching an

agreement in principle, the Parties have worked diligently to draft the written settlement

agreement, notices, and other settlement exhibits. Giskan Decl., ¶¶ 12-15.

                       SUMMARY OF THE SETTLEMENT TERMS

I.     The Settlement Classes

       The Settlement Classes are those classes certified by this Court’s class certification order,

as refined and limited by this Court’s summary judgment decision. The Settlement Classes, are

defined as follows:

       The “Email Confirmation Settlement Class” means and includes: American ticket

holders who both: (a) received email confirmation that in its body (and not merely in documents

incorporated by reference) promised them one or more checked baggage at no charge or for

“USD0.00” and were thereafter required to pay to check one or more such bags on or after

February 24, 2017 for tickets purchased on or before April 8, 2020; and (b) either were sent Mail

Notice or Email Notice of the Settlement or otherwise submit a Valid Claim related to At-Issue

Baggage Fees covered by subpart (a) of this definition.

       The “Credit Card Settlement Class” means and includes: American-branded Citibank or

Barclay’s partner credit card holders entitling them to free checked baggage who were required

to pay to check one or more such bags on domestic itineraries on or after February 24, 2017 for

tickets purchased on or before April 8, 2020 (for the removal of doubt, this includes passengers

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on layovers on international itineraries who were charged a second time to check bags for

domestic portions of those itineraries); and (b) either were sent Mail Notice or Email Notice of

the Settlement or otherwise submit a Valid Claim related to At-Issue Baggage Fees covered by

subpart (a) of this definition.

        Excluded from the Settlement Classes are persons whose only claims arise from baggage

fees released in Bazerman v. American Airlines, Inc., Case No. 1:17-cv-11297-WGY (D. Mass.

2017), along with the Parties’ counsel and Court personnel.

II.     Refunds to Settlement Class Members

        Under the Settlement, American will pay no less than seven million five hundred

thousand dollars ($7.5 million) into a Settlement Account, which will be used to pay all Refunds

Settlement Class Members who submit claims not disputed by the parties. Settlement Class

Members who submit a Valid Claim shall be eligible to receive a full refund of their At-Issue

Baggage Fees. Settlement §§ IV.A-C. The claims process is described below in Section

§ VIII.E.

        If the total amount approved for all claims submitted (the “Total Claim Amount”)

exceeds $7.5 million, American will pay that higher Total Claim Amount into the Settlement

Account instead, fully refunding the At-Issue Baggage Fees for all Valid Claimants. Settlement

§ IV.E. The Settlement sets no maximum on the amount that American will pay Valid

Claimants. Id. § IV.E.

        If the Total Claim Amount is less than $7.5 million, American will pay $7.5 million into

the Settlement Account. Id. § IV.F. In that case, each Valid Claimant’s total Refund will equal

their respective At-Issue Baggage Fees plus a pro rata allocation of the difference between $7.5

million and the Total Claim Amount. Id.

        If, six months after disbursement of all Refunds, any funds remain in the Settlement

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Account—e.g., if some Settlement Class Members did not deposit or cash their checks—then: if

American paid more than $7.5 million into the Settlement Account, the remaining funds up to

the amount American paid on top of $7.5 million will be returned to American; otherwise, the

remaining funds will be distributed to Valid Claimants for whom Refund payments were

effectuated if there are sufficient remaining funds to warrant such a distribution, or if not will be

distributed cy pres to recipients agreed on by the Parties. Id. § V.C.

III.   Administrative Costs

       All Notice and Settlement Administration Costs, including fees and costs of the

Settlement Administrator implementing the notice program, administering the claims process,

mailing checks, and performing the other administrative tasks described in the Settlement, will

be paid by American, in addition to Refunds paid to claiming Settlement Class Members.

Settlement § VII.C. American’s payment of settlement administration costs will not reduce the

amount of Refunds paid to Settlement Class members. Id. § VII.D. The Parties propose that

A.B. Data Ltd., a well-known administration firm that has successfully administered numerous

class settlements, including class notice in this Litigation, to serve as the Settlement

Administrator. Id. § VII.A; Giskan Decl. ¶ 18.

IV.    Attorneys’ Fees, Expenses, and Service Awards

       Class Counsel will apply to the Court for an award of reasonable attorneys’ fees and

litigation costs and expenses in an amount not to exceed $2,850,000, to be paid by American to

Class Counsel separate and apart from the Refunds paid to Settlement Class Members.

Settlement § VI.A. Class Counsel will also apply for service awards of up to $10,000 for each

Plaintiff, to compensate them for their efforts and commitment on behalf of the Settlement

Classes. American’s payment of Court-approved attorneys’ fees and costs and Plaintiff service

awards will not reduce the amount of Refunds paid to Settlement Class members. Class

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Counsel’s fee application will be filed no later than 25 days after the Notice Date (i.e., at least 30

days before the Exclusion/Objection Deadline). Id. § XI.A.

V.      Notice Program

        The Parties’ proposed Class Notice Program is set forth in Section VIII of the Settlement,

and consists of: (A) direct notice to Settlement Class Members by email and mail, supplemented

by reminder notices; (B) a Press Release; (C) a case-specific Settlement Website including the

Long Form Notice, and a toll-free telephone number; and (D) notice pursuant to the Class Action

Fairness Act (28 U.S.C. § 1715).

        A.      Direct Notice to Settlement Class Members

        Notice will be sent directly to Settlement Class Members, through a combination of email

and first-class mail.

        First, within fourteen (14) days of the Preliminary Approval Date, American will provide

to the Settlement Administrator a “Settlement Class Notice List” that includes: (i) a list of all

individuals who may be members of the Settlement Classes based on the Class Notice Lists

previously used in this matter, as adjusted based on this Court’s ruling on American’s Motion for

Partial Summary Judgment; (ii) the last known mailing addresses and email addresses for each

such individual; and (iii) the passenger’s date of birth, if present in American’s business records,

to facilitate a search for the passenger’s contact information based on name plus date of birth.

Settlement § VIII.D. The Settlement Administrator will take commercially reasonable steps to

obtain current mailing and email addresses for Settlement Class Members and may utilize the

services of third-party vendors and information providers to obtain such information. Among

those steps, the Settlement Administrator will use the National Change of Address Database

maintained by the United States Postal Service to update mailing addresses before Mail Notices

are mailed to Settlement Class Members. Id. § VIII.E.

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       Email Notice: No later than thirty-five (35) Days after the Preliminary Approval Date

(the “Notice Date”), the Settlement Administrator will send the Email Notice (substantially in the

form attached hereto as Exhibit B) by email to all persons on the Settlement Class Notice List for

whom an email address was provided by American or located by the Settlement Administrator.

Id. § VIII.G. The Email Notices will contain a hyperlink to the Claim Form on the Settlement

Website that can be completed to file a claim for a Refund and inform Settlement Class Members

that a Spanish version is available on the Settlement Website.

       Mail Notice: No later than the fifty (50) Days after the Preliminary Approval Date

(15 days after the Notice Date), the Settlement Administrator will mail the Court-approved Mail

Notice (substantially in the form attached hereto as Exhibit D), including a Claim Form with

prepaid postage (substantially in the form attached hereto as Exhibit A), to all persons on the

Settlement Class Notice List who have yet to submit a Claim Form and for whom an mailing

address was provided by American or located by the Settlement Administrator. Id. § VIII.H.

The Mail Notice will inform Settlement Class Members that a Spanish version is available on the

Settlement Website.

       For any Mail Notices returned as undeliverable, the Settlement Administrator shall

update addresses based on any forwarding information received from the United States Postal

Service. The Settlement Administrator shall promptly re-mail any Mail Notices that are returned

as non-deliverable with a forwarding address to such forwarding address. For Mail Notices that

are returned undeliverable without a forwarding address, the Settlement Administrator shall

perform skip tracing and shall re-mail Mail Notices to any new addresses identified through such

skip-tracing. Id. § VIII.I.

       Reminder Email Notices: No later than sixty (60) Days after the Preliminary Approval



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Date (25 days after the Notice Date), the Settlement Administrator will email the Reminder

Email Notice (substantially in the form attached hereto as Exhibit E) to all individuals who were

sent the Email Notice and who have yet to submit a Claim Form as of that time. No later than

one hundred (100) Days after the Preliminary Approval Date (65 days after the Notice Date) the

Settlement Administrator will email a second Reminder Email Notice to all individuals who

were sent the Email Notice and who have yet to submit a Claim Form as of that time. The

Parties, with input from the Settlement Administrator, will negotiate in good faith to determine

whether a third Reminder Email Notice (to individuals who were sent the Email Notice and who

have yet to submit a Claim Form as of one hundred fifteen (115) Days after the Preliminary

Approval Date) is necessary. Id. § VIII.J. The reminder Email Notices contain a hyperlink on

to the Claim Form on the Settlement Website.

       Reminder Mail Notice: No later than one hundred (100) Days after the Preliminary

Approval Date (65 days after the Notice Date), the Settlement Administrator will mail the

Reminder Postcard Notice (substantially in the form attached hereto as Exhibit F), to all

individuals who were sent the Mail Notice and who have yet to submit a Claim Form as of that

time. Id. § VIII.K. The reminder Mail Notices will again attach postage prepaid Claim Forms.

       B.      Press Release

       Within seven (7) days after the Notice Date, the Settlement Administrator or Class

Counsel shall issue or cause to be issued a Press Release, substantially in the form attached

hereto as Exhibit G. Id. § VII.M.

       C.      Settlement Website and Toll-Free Number

       The Settlement Administrator shall establish the Settlement Website, at the URL

www.bagfeesettlement.com. The Settlement Website shall provide information and relevant

documents related to this Settlement, including but not limited to, the following: applicable

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deadlines; a downloadable copy of the Settlement Agreement and the Long Form Notice (in

English and Spanish); a mechanism for Settlement Class Members to submit online Claim Forms

electronically via the Settlement Website; orders of the Court pertaining to the Settlement; and

contact address(es) for questions. Id. § VIII.F.

       Within ten (10) Days after entry of the Preliminary Approval Order, the Settlement

Administrator shall set up a toll-free telephone number for receiving toll-free calls related to the

Settlement. Pre-recorded messages will be available in both English and Spanish languages.

That telephone number shall be maintained and operational until thirty (30) Days after the last

distribution of the Settlement Class Member Refunds. Id. § VII.D.

       D.      CAFA Notice

       Within ten (10) days of the filing of this motion, American shall serve notice of the

Settlement, with the assistance of the Settlement Administrator, of the proposed Settlement in

accordance with 28 U.S.C. § 1715, upon the appropriate State and Federal officials. Id. § VIII.N.

VI.    Claims Process

       Settlement Class Members may submit claims for Refunds by submitting a Claim Form

by the Claim Deadline (i.e., within 125 days after the Preliminary Approval Date, or 90 days

after the Notice Date). Claims may be submitted electronically via the Settlement Website, or by

mail. The claim form is simple. Settlement § IX; Exhibit A (Claim Form).

       The Email Notices and Reminder Email Notices shall include hyperlinks to the

Settlement Website, including to the page on the Settlement Website where online Claim Forms

may be submitted electronically. A Claim Form with postage prepaid will be annexed to the

Mail Notices and Reminder Mail Notices and also made available for download on the

Settlement Website or by request to the Settlement Administrator. Settlement § IX.A.

       Any Settlement Class Member who has submitted or submits an invalid, incomplete or

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inaccurate Claim Form shall be informed of the deficiency by the Settlement Administrator and

thereafter be permitted to re-submit a Claim Form within thirty (30) Days from receiving notice

of the deficiency or prior to the Claims submission deadline, whichever date is later. Id. § IX.E.

       A.      Opt-Out and Objection Procedures

       Any Settlement Class Member may request to be excluded from the Settlement Class by

mailing a request for exclusion that is post-marked no later than the Opt-Out and Objection Date.

The request for exclusion must be personally signed by the Person requesting exclusion and must

contain a statement that indicates his or her desire to be excluded from the Settlement.

Settlement § X.C.

       Any Settlement Class Member who does not submit a timely and valid exclusion request

may object to the Settlement, Class Counsel’s application for attorneys’ fees and expenses,

and/or the request for service awards. To be considered, an objection must be in writing, must be

filed with or mailed to the Court and sent to the Parties’ counsel, must be filed/postmarked by the

deadline stated in the notice, and must include the information prescribed by the Notice. The

parties propose that the deadline for exclusion requests and objections (the “Opt-Out and

Objection Deadline”) be set 90 days after the Preliminary Approval Date (55 days after the

Notice Date). Settlement §§ X.A; II.X.

VII.   Release

       In exchange for the consideration provided under the Settlement, Settlement Class

Members who do not request exclusion will release American and its affiliates from claims

eligible for Refunds as part of the Settlement, whether or not claims are submitted. Id. § XII.

                                          ARGUMENT

I.     Overview of the Class Settlement Approval Process

       Pursuant to Rule 23(e), a class action settlement must be approved by the court before it

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can become effective. The process for court approval is comprised of two principal steps:

       (1) Preliminary approval of the proposed settlement and direction of notice to the
           class; and
       (2) A final approval hearing, at which argument concerning the fairness, adequacy,
           and reasonableness of the settlement is presented.

Carmen v. R.A. Rogers, Inc., No. SA-16-ca-971-FB (HJB), 2018 U.S. Dist. LEXIS 174461, at

*15 (W.D. Tex. Apr. 25, 2018) (“Trial court review of a class action settlement proposal is

a process: preliminary approval and a subsequent final approval after a fairness hearing.”). By

this motion, Plaintiffs respectfully ask the Court to take the first step and enter an order

preliminarily approving the Settlement and directing class notice, pursuant to the parties’

proposed notice program, under Rule 23(e)(1). “During the preliminary approval stage, the

Court must make a preliminary determination of the fairness, reasonableness, and adequacy of

the settlement terms and must direct the preparation of notice of the certification, proposed

settlement, and date of the final fairness hearing. Manual for Complex Litigation (Fourth) §

21.632 (2004). At the stage of preliminary approval, the questions are simpler, and the court is

not expected to, and probably should not, engage in analysis as rigorous as is appropriate

for final approval.” Id. (citations and internal quotation marks omitted).

II.    The Proposed Settlement Meets the Standards for Preliminary Approval.

       In evaluating a motion for preliminary settlement approval, the court conducts a

preliminary assessment of the factors that will be evaluated at the final approval stage. Those

factors include whether:

       (A) the class representatives and class counsel have adequately represented the
           class;
       (B) the proposed settlement was negotiated at arm’s length;
       (C) the relief provided for the class is adequate taking into account
               (i) the costs, risks, and delay of trial and appeal;
               (ii) the effectiveness of any proposed method of distributing relief to the
                     class, including the method of processing class-member claims;
               (iii) the terms of any proposed award of attorney's fees, including timing of

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                    payment; and
               (iv) any agreement required to be identified under Rule 23(e)(3); and
       (D) the settlement treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2). The Court should grant preliminary approval and direct notice to the

class if it finds it “is likely to approve the proposal under Rule 23(e)(2).” Fed. R. Civ. P.

23(e)(1). The ultimate touchstone for the analysis is whether the proposed settlement is “fair,

reasonable, and adequate.” Id.

       The Rule 23(e)(2) factors listed above, which were added by amendment effective

December 1, 2018, are consistent with the factors the Fifth Circuit has long instructed courts to

consider for approval of class action settlements, which are:

       (1)   the existence of fraud or collusion behind the settlement;
       (2)   the complexity, expense, and likely duration of the litigation;
       (3)   the stage of the proceedings and the amount of discovery completed;
       (4)   the probability of plaintiffs’ success on the merits;
       (5)   the range of possible recovery; and
       (6)   the opinions of the class counsel, class representatives, and absent class
             members.

Reed v. Gen. Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983); accord Newby v. Enron Corp.,

394 F.3d 296, 301 (5th Cir. 2004) (applying Reed factors to proposed class action settlement);

Izzio v. Century Golf Partners Mgmt., L.P., No. 14-cv-03194-M, 2019 WL 10589568, at *6

(N.D. Tex. Feb. 13, 2019) (same). “Because the Rule 23 and case-law factors overlap, courts in

this circuit often combine them in analyzing class settlements.” ODonnell v. Harris Cnty.,

Texas, No. CV H-16-1414, 2019 WL 6219933, at *9 (S.D. Tex. Nov. 21, 2019). Both sets of

factors support approval of the Settlement here, as explained below.

       In evaluating settlement approval, the Court should consider the Fifth Circuit’s

recognition of a strong public policy in favor of pretrial settlements of class action lawsuits. See

In re Deepwater Horizon, 739 F.3d 790, 807 (5th Cir. 2014) (noting a public interest favoring

class action settlements). “If the proposed settlement discloses no reason to doubt its fairness,

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has no obvious deficiencies, does not improperly grant preferential treatment to class

representatives or segments of the class, does not grant excessive compensation to attorneys, and

appears to fall within the range of possible approval, the court should grant preliminary

approval.” Bardales v. Fontana & Fontana, LLC, No. 19-cv-340-WBV-DMD, 2020 WL

5819873, at *9 (E.D. La. Sept. 30, 2020) (quoting In re Pool Prods. Distrib. Market Antitrust

Litig., 310 F.R.D. 300, 314-15 (E.D. La. 2015)). As explained below, all of these conditions are

true here.

       The Settlement here is fair, reasonable, and adequate and warrants final approval under

the Rule 23(e)(2) factors and Fifth Circuit precedent.

       A.      The Settlement Represents an Excellent Result for the Settlement Classes,
               Particularly Considering the Risks and Delay of Trial and Appeal (Fed. R.
               Civ. P. 23(e)(2)(C)(i); Reed Factors 2, 4, 5).

       The Settlement provides that all Settlement Class Members are eligible to receive a full

refund of all their At-Issue Baggage Fees, with no cap on the total amount American might pay.

Settlement §§ IV.A, C, E. Therefore, the Settlement enables 100% of the proposed class to

receive 100% of their alleged overpayments. To receive this full refund, Settlement Class

Members must simply submit a straightforward claim form by the claim deadline. Id. §§ IV.C,

IX. If the total dollar amount of valid claims submitted by the claim deadline (“Total Claim

Amount”) is less than $7,500,000, then Settlement Class Members will receive their total At-

Issue Baggage Fees plus a pro rata allocation of the difference between $7,500,000 and the Total

Claim Amount. Id. § IV.F. In no event will Settlement Class Members who submit valid, timely

claims be eligible to receive less than 100% of their At-Issue Baggage Fees, and in no event will

American pay less than $7,500,000 to resolve this litigation. Id. §§ IV.B-C.

       The proposed Settlement makes 100% recovery available to the entirety of each

Settlement Class. Courts in the Fifth Circuit regularly approve class settlements making far

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lower percentages of total potential damages available to class members. See, e.g., Hays v.

Eaton Grp. Att’ys, LLC, No. CV 17-88-JWD-RLB, 2019 WL 427331, at *11 (M.D. La. Feb. 4,

2019) (“[a] settlement can be satisfying even if it amounts to a hundredth or even a thousandth of

a single percent of the potential recovery,” and citing cases) (internal quotation omitted); In re

Pool Prods., 310 F.R.D. at 316 (approving $600,000 settlement when the potential recovery was

$23,951,893); In re OCA, Inc. Sec. & Derivative Litig., No. CIV.A.05-2165, 2009 WL 512081,

at *4, *14 (E.D. La. Mar. 2, 2009) (approving $6.5 million settlement when potential recovery

was $32 million).

        The Settlement’s requirement that American pay a minimum, non-reversionary sum of

$7.5 million also constitutes substantial monetary relief in itself. Settlement § IV.B. That

amount represents a strong result given the potential recovery and the risks and delay of ongoing

litigation in this case.

        The fairness, reasonableness, and adequacy of the proposed Settlement is even clearer in

light of the risks, expense, and delay that would accompany ongoing litigation. Multiple pending

motions, if decided in American’s favor, would significantly narrow—or eliminate—the

damages available to the Classes. American’s pending limine motions and motion to reconsider

the summary judgment and spoliation decision create risks with significant consequences for

recovery if Plaintiffs continued litigating. See Schwartz v. TXU Corp., 2005 WL 3148350, at

*18 (N.D. Tex. Nov. 8, 2005) (plaintiffs’ “uncertain prospects of success through continued

litigation” supported approval of settlement).

        Even if Plaintiffs prevailed on those motions, to achieve full refunds like those provided

by the Settlement, Plaintiffs would need to: convince a jury of American’s liability at trial;

convince a jury to award damages equivalent to full refunds for each Class Member; and then



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prevail on a certain appeal. The expense and delay of these forthcoming litigation stages—

particularly the expense of trial and the delay of appeal—would be significant costs to the

Classes even aside from the risk that Plaintiffs might lose or receive less than the full refunds

made available by the Settlement. “When the prospect of ongoing litigation threatens to impose

high costs of time and money on the parties, the reasonableness of approving a mutually-

agreeable settlement is strengthened.” Klein v. O’Neal, 705 F. Supp. 2d 632, 651 (N.D. Tex.

2010); see also In re Heartland Payment Sys., Inc. Customer Data Breach Litig., 851 F. Supp. 2d

1040, 1064 (S.D. Tex. 2012) (approving settlement and noting that litigating case to trial would

be “time consuming, and ‘[i]nevitable appeals would likely prolong the litigation, and any

recovery by class members, for years’”) (quoting Rodriguez v. West Publ’g Corp., 563 F.3d 948,

966 (9th Cir. 2009)).

       Rather than risk trial and appeal, which could lead to Class members getting zero or less-

than-full compensation at an uncertain time later, the Settlement gives every Settlement Class

Member a guaranteed opportunity now to get 100% compensation. This Settlement relief is

more than fair, reasonable, and adequate. 3

       B.      The Settlement is the Product of Good Faith, Informed, Arm’s-Length
               Negotiations (Fed. R. Civ. P. 23(e)(2)(B); Reed Factor 1).

       Rule 23(e)(2)(B) and the first Reed factor support final approval because the Settlement

was negotiated after substantial discovery and there is no evidence of fraud or collusion. The

Settlement was reached after hard-fought, arm’s-length negotiations by experienced counsel,

including a full-day mediation session on August 8, 2022, before experienced and well-respected

mediator. Giskan Decl., ¶¶ 6-8, 12-13. The parties did not reach agreement at the initial



3
 There are no agreements between the Parties besides the Settlement to be considered under Fed.
R. Civ. P. 23(e)(2)(C)(iv).

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mediation or at mediation following summary judgment, but agreed to continue negotiating, and

ultimately reached an agreement in principle only 12 days before trial. Giskan Decl., ¶¶ 13-14.

Throughout their negotiations, the Parties were represented by counsel experienced in the

prosecution, defense, trial, and settlement of complex class actions. Giskan Decl., ¶¶ 14, 19.

       The Parties’ hard-fought, arm’s-length negotiations and the involvement of an

experienced mediator demonstrate that the Settlement is procedurally fair and is not the product

of fraud or collusion. See, e.g., Klein, 705 F. Supp. 2d at 651 (approving settlement after finding

it was “not the product of fraud or collusion”); Heartland, 851 F. Supp. 2d at 1063-65

(approving settlement where parties engaged in arm’s-length negotiations with the benefit of

discovery to gauge the strengths and weaknesses of the case); Billitteri v. Sec. Am., Inc., No. 09-

cv-01568-F, 2011 WL 3586217, at *10 (N.D. Tex. Aug. 4, 2011) (finding no fraud or collusion

in settlement reached through counsel’s diligent arm’s-length negotiations before a neutral

mediator).

       C.      The Settlement, Reached Less than Two Weeks Before Trial, Is Informed by
               Significant Investigation, Discovery, Motion Practice, and Court Rulings
               (Reed Factor 3).

       The third Reed factor—the stage of the proceedings and the amount of discovery

completed—also strongly supports settlement approval. The Parties could hardly have been

more well-informed about their respective strengths and risks at trial, as discovery was complete,

the Court had ruled on summary judgment, and the parties had briefed their motions in limine

and filed several other pre-trial submissions to prepare for the trial scheduled less than two

weeks away when settlement was reached. Manual for Complex Litigation (Fourth) at § 22.921

(“If the case has been litigated extensively, the judge may have sufficient reliable information to

determine whether the class should be certified and whether the settlement terms are the fair,

reasonable, and adequate result of arms-length negotiations.”).

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       As discussed above, the Settlement is informed by counsel’s substantial investigation and

discovery regarding the legal and factual issues involved. These efforts included, inter alia,

conducting a pre-filing factual investigation; reviewing and analyzing more than 50,000 pages of

internal documents, deposing American employees, including multiple Rule 30(b)(6) corporate

designees; substantial written discovery; and ongoing communications with class members. See

supra Background § II. In negotiating the Settlement, the Parties here were also significantly

guided by this Court’s summary judgment ruling (ECF No. 190), which narrowed the remaining

issues and clarified the potential damages and risks at trial.

       The fact that this Court already certified litigation classes in this case further supports the

approval of class-wide settlement here. Cf. Manual for Complex Litigation (Fourth) [“MCL

4th”] § 21.612 (2004) (“[A]pproval of settlement class actions under Rule 23(e) requires closer

judicial scrutiny than approval of settlements reached only after class certification has been

litigated through the adversary process.”).

       D.      Plaintiffs and Class Counsel Have and Continue to Zealously Represent the
               Class, and Their Experience and Views Further Support Approval (Fed. R.
               Civ. P. 23(e)(2)(A); Reed Factor 6).

       Plaintiffs and Class Counsel have prosecuted this action on behalf of the Classes with

vigor and dedication for almost two years (and spent substantial time prior to then investigating

these claims). As discussed above and in the attached declarations, Class Counsel have

thoroughly investigated and researched the factual and legal issues involved, conducted

substantial discovery, engaged in extensive motions practice, successfully certified two litigation

classes, and were prepared to try Plaintiffs’ and the Classes’ claims less than two weeks after the

Parties reached agreement to settle. See supra Background § II. Class Counsel will continue to

zealously advocate for the Settlement Classes, if the Settlement receives preliminary approval,

by verifying claims and advocating for Settlement Class Members if Class Counsel disagree with

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the Settlement Administrator or American’s decision regarding any claims’ verification.

Settlement §§ IX.D-Q (describing claim verification process and Class Counsel’s role); Giskan

Decl., ¶ 16.

       Plaintiffs themselves have personally been actively engaged in this litigation. They each

provided pertinent information about their experiences, searched for and provided documents

and information in response to American’s written discovery requests, sat for depositions, and

regularly communicated with their counsel up to and including evaluating and approving the

Settlement. Dr. Ferrigni also participated personally in the mediation. Giskan Decl., ¶ 8.

       Plaintiffs and Class Counsel view the Settlement as fair, reasonable, and adequate. Class

Counsel here have extensive experience litigating, trying, and settling consumer class actions and

other complex matters. Id. at ¶¶ 14, 19. They have conducted an extensive investigation into,

and taken considerable discovery regarding, the factual and legal issues raised. The fact that

qualified and well-informed counsel endorse the Settlement as being fair, reasonable, and

adequate weighs in favor of the Court approving the Settlement. See Marcus v. J.C. Penney Co.,

2017 WL 6590976, at *3 (E.D. Tex. Dec. 18, 2017) (“Significant weight is given to the opinion

of class counsel concerning whether the settlement is in the best interest of the class and the

court is not to substitute its own judgment for that of counsel.”), R&R adopted, 2018 WL 307024

(E.D. Tex. Jan. 4, 2018); Schwartz, 2005 WL 3148350, at *21 (“[W]here the parties have

conducted an extensive investigation, engaged in significant fact-finding and Lead Counsel is

experienced in class-action litigation, courts typically ‘defer to the judgment of experienced trial

counsel who has evaluated the strength of [the] case.’”). 4



4
 In addition to considering the views of Plaintiffs and Class Counsel under Reed factor 6, the
Court also considers the views of class members. Proposed Settlement Class Members have not
yet been notified of the Settlement and thus have not yet had an opportunity to react. If the

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       E.      The Settlement Treats Class Members Equitably and the Proposed Method
               of Distributing Relief Is Effective (Fed. R. Civ. P. 23(e)(2)(C)(ii), (D)).

       Under the Settlement, all Settlement Class Members are eligible to submit claims, and all

who submit Valid Claims will be eligible to receive a full refund of their At-Issue Baggage Fees.

Settlement § IV.C. The specific amount paid for each Valid Claim will be individually

calculated to match the At-Issue Baggage Fees allegedly overpaid by that specific claimant. Id.

This allocation is fair, reasonable, and equitable. Indeed, this allocation avoids the rough justice

often necessitated in class action settlements and instead provides a personalized, full refund to

each Settlement Class Member who submits a valid claim.

       Moreover, the claims process and claim form here are simple and user-friendly. See Ex.

A (proposed Claim Form). Claims can be submitted by mail using a postage prepaid claim form

or electronically via the Settlement Website, and the direct notices include the URL and

hyperlinks to the Settlement Website where online claims can be submitted, to facilitate

submitting claims.

       The Settlement also provides for an effective, efficient, and equitable method of

distributing relief. The Settlement Administrator will distribute payments in the form of mailed

checks or via electronic payment where feasible. Settlement § IX.R. If any electronic payments

are returned or otherwise not effectuated, the Settlement Administrator will mail that claimant a

refund check. Id. § IX.S. If any checks are returned as undeliverable, the Settlement

Administrator will re-mail to a forwarding address provided or obtained via reasonable efforts.

Id.




Settlement receives preliminary approval, Class Counsel will notify the Court of Settlement
Class members’ reaction to the Settlement, including the numbers of claims filed, opt-out
requests submitted, and objections submitted, before the Fairness Hearing. Giskan Decl., ¶ 17.

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       F.      Class Counsel Will Seek Reasonable Attorneys’ Fees and Reimbursement of
               Their Litigation Expenses (Fed. R. Civ. P. 23(e)(2)(C)(iii)).

       As required by Fed. R. Civ. P. 23(h), prior the Fairness Hearing Class Counsel will move

for an award of reasonable attorneys’ fees and reimbursement of their litigation expenses, to be

paid by American separate and apart from the Refunds paid to Settlement Class Members.

Settlement § VI.A. Any award of attorneys’ fees and expenses by American to Class Counsel

will not reduce the Refunds paid by American to the Settlement Classes. Id.

       Class Counsel currently anticipate requesting that the Court award $2.85 million for

attorneys’ fees, plus reimbursement of litigation expenses. Class Counsel will file their fee

application, which will provide the supporting basis for their request, at least 30 days in advance

of the Opt-Out and Objection Date, and it will be available on the Settlement Website after it is

filed. Settlement § XI.A. As Class Counsel’s fee application will detail, this anticipated request

is reasonable under Fifth Circuit law. See Erica P. John Fund, Inc., 2018 WL 1942227, at *9

(“[O]ne-third of the fund . . . is within the range of percentage fees awarded in the Fifth Circuit

in other complex cases.”).

                                                ***

       In sum, the proposed Settlement is amply fair, has no obvious deficiencies, does not

improperly grant preferential treatment to the Plaintiffs or to segments of the Settlement Classes,

and does not grant excessive compensation to attorneys. Under these conditions, “the court

should grant preliminary approval.” See Bardales, 2020 WL 5819873, at *9.

III.   The Court Already Certified the Classes, and Should Reaffirm that Certification
       with Regard to the Settlement Classes.

       On September 2, 2021, this Court certified two litigation classes: “(1) qualified American

ticket holders who received email confirmation that promised them free checked baggage” (the

Email Confirmation Class) and “(2) qualified American partner credit card holders that were

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promised free checked baggage” (the Credit Card Class). ECF No. 66 at 5. In its summary

judgment order, the Court’s rulings narrowed the classes by excluding: persons whose claims

arose prior to February 24, 2017 or after April 8, 2020; and credit card holders whose claims

relate to baggage fees charged for international flights. ECF No. 190 at 7, 13, 17.

        The Settlement Classes track the certified litigation Classes while accounting for the

limitations applied by the Court’s summary judgment order. See supra Section IV (listing

Settlement Class definitions). The Settlement Classes merit certification for all the same reasons

as the litigation Classes.

IV.     The Proposed Notice Program Complies with Rule 23 and Due Process.

        Before a proposed class settlement may be finally approved, the Court “must direct notice

in a reasonable manner to all class members who would be bound by the proposal.” Fed. R. Civ.

P. 23(e)(1)(B). Where certification of a Rule 23(b)(3) settlement class is sought, the notice must

also comply with Rule 23(c)(2)(B), which requires:

        the best notice that is practicable under the circumstances, including individual
        notice to all members who can be identified through reasonable effort. The notice
        may be by one or more of the following: United States mail, electronic means, or
        other appropriate means. The notice must clearly and concisely state in plain, easily
        understood language: (i) the nature of the action; (ii) the definition of the class
        certified; (iii) the class claims, issues, or defenses; (iv) that a class member may
        enter an appearance through an attorney if the member so desires; (v) that the court
        will exclude from the class any member who requests exclusion; (vi) the time and
        manner for requesting exclusion; and (vii) the binding effect of a class judgment on
        members under Rule 23(c)(3).

Fed. R. Civ. P. 23(c)(2)(B); see also Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 176 (1974).

        The notice program proposed in Settlement § VIII meets all applicable standards. The

notice program includes direct notice to Settlement Class Members via email and first-class U.S.

Mail; multiple reminder notices; a widely distributed press release; a Settlement Website where

Settlement Class Members can submit claims online and view the Settlement, the Long Form


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Notice, and other key case documents; and a Toll-Free Telephone Number where Settlement

Class Members can get additional information. The proposed forms of notice (Settlement Exs.

B-G) inform Settlement Class Members, in clear and concise terms, about the nature of this case,

the Settlement, how to submit claims and the deadline to do so, and their other rights and

options, including all of the information required by Rule 23(c)(2)(B). The Court should

approve the proposed notice program.

V.     The Court Should Schedule a Fairness Hearing and Related Dates.

       The next steps in the settlement approval process are to notify Settlement Class Members

of the proposed Settlement, allow Settlement Class Members an opportunity to exclude

themselves or file comments or objections, and hold a Fairness Hearing. Towards those ends,

the parties propose the following schedule:

 Last day for the Settlement Administrator to set up the            10 days after entry of
 Toll-Free Telephone Number and send CAFA Notice                Preliminary Approval Order
 Last day for American to provide the Settlement Class
                                                                    14 days after entry of
 Notice List and related notice information to the
                                                                Preliminary Approval Order
 Settlement Administrator
 Last day for the Settlement Administrator to set up the
                                                                1 day before the Notice Date
 Settlement Website
 Notice Date (Last day for the Settlement Administrator           35 days after Preliminary
 to send the Email Notice)                                             Approval Date
 Last day for the Settlement Administrator to send the            50 days after Preliminary
 Mail Notice                                                           Approval Date
 Last day for the Settlement Administrator to send the            60 days after Preliminary
 first Reminder Email Notice                                           Approval Date
 Last day for Plaintiffs and Settlement Class Counsel to
 file motion for final approval of the Settlement, and            60 days after Preliminary
 motion for attorneys’ fees, expenses and service                      Approval Date
 awards
                                                                  90 days after Preliminary
 Opt-Out and Objection Deadline
                                                                       Approval Date
 Last day for the Settlement Administrator to send the
                                                                 100 days after Preliminary
 second Reminder Email Notice and second Reminder
                                                                      Approval Date
 Mail Notice
                                                                 125 days after Preliminary
 Claims Deadline
                                                                      Approval Date


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 Last day for the Parties to file any responses to
 objections, and any replies in support of motion for
                                                                       7 days before
 final settlement approval and/or Settlement Class
                                                                      Fairness Hearing
 Counsel’s application for attorneys’ fees, expenses and
 service awards
 Fairness Hearing                                                           [TBD]


                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court approve the

accompanying proposed order, that will do the following:

       (a)    Grant preliminary approval of the proposed Settlement;
       (b)    Reaffirm certification of the Classes as defined in the Settlement, pursuant
              to Fed. R. Civ. P. 23(a) and (b)(3);
       (c)    Reaffirm Appointment of Plaintiffs as Class Representatives representing
              the Settlement Class;
       (d)    Reaffirm Appointment of Class Counsel;
       (e)    Approve the proposed notice program in the Settlement, including the
              proposed forms of notice, and direct that notice be disseminated pursuant to
              such notice program and Fed. R. Civ. P. 23(e)(1);
       (f)    Approve the proposed process set forth in the Settlement for Settlement
              Class Members to submit claims;
       (g)    Appoint A.B. Data Ltd. as Settlement Administrator and direct it to carry
              out the duties and responsibilities of the Settlement Administrator specified
              in the Settlement;
       (h)    Set deadlines for Settlement Class Members to request exclusion from the
              Settlement Class, to object to the Settlement, and to submit claims;
       (i)    Stay all non-Settlement-related proceedings in this lawsuit pending final
              approval of the Settlement; and
       (j)    Schedule a Fairness Hearing and certain other dates in connection with the
              final approval of the Settlement pursuant to Fed. R. Civ. P. 23(e)(2).



Dated: October 14, 2022                              Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       In accordance with Local Rule 7.1(b), counsel for Plaintiffs, Oren Giskan, conferred with

counsel for Defendants on October 13, 2022, regarding the relief requested in this motion, and

Defendants’ counsel stated that Defendants do not oppose this motion.


                                                    /s/ Oren Giskan
                                                    Oren Giskan




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was served upon all

counsel of record via the Court’s CM/ECF system on October 14, 2022.


                                                    /s/ Oren Giskan
                                                    Oren Giskan




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